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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL, LP                                 §    CASE NO. 17-40179
                                                            §       (Chapter 7)
DEBTOR                                                      §

          OBJECTION TO PROOF OF CLAIM NO. 2 OF JEFFREY T. RICHARD

                                  30-Day Negative Notice – LBR 3007(b):

ATTENTION: YOUR CLAIM MAY BE REDUCED, MODIFIED, OR ELIMINATED.
Accordingly, you should read this pleading carefully and discuss it with your attorney, if you
have one in this bankruptcy case. If you do not wish for the court to eliminate or change your
claim, you must file a written response opposing the claim objection, explaining the factual
and/or legal basis for that response.

No hearing will be conducted on this claim objection unless a written response in opposition is
filed with the Clerk of the United States Bankruptcy Court and served upon the party filing
this pleading WITHIN THIRTY (30) DAYS FROM THE DATE OF SERVICE listed in the
certificate of service unless the court shortens or extends the time for filing such response. If
no response in opposition is timely served and filed, this claim objection shall be deemed to be
unopposed, and the court may enter an order sustaining the objection to your claim. If a
response in opposition is filed and served in a timely manner, the court will thereafter set a
hearing with appropriate notice. If you fail to appear at the hearing, your response in
opposition may be stricken. The court reserves the right to set a hearing on any matter.

TO THE HONORABLE BRENDA T. RHOADES, U.S. BANKRUPTCY JUDGE:

         Christopher J. Moser, Trustee ("Trustee") objects to Proof of Claim No. 2 filed by Jeffrey T.

Richard as an unsecured claim in the amount of $100,000.00 as follows:

   1. Jeffrey T. Richard filed Proof of Claim No. 2 as an unsecured claim in the amount of

$100,000.00. A true and correct copy of the claim is attached hereto as Exhibit “A”.

   2. Trustee objects to the claim for the reason that the claim is improperly filed as a general

unsecured claim as opposed to an equity interest. The attachment to the claim evidence the fact that

the claimant invested $100,000.00 into the Debtor in exchange for a limited partnership interest in

the Debtor. Holders of limited partnership interests in the Debtor are not owed money from the
                                                            1
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Debtor and do not have a “claim” against the Debtor’s bankruptcy estate. See 11 U.S.C. §501(a) (An

equity security holder may file a proof of interest.) 1 (Emphasis added). In short, the claim is based

upon an ownership interest and not based upon any liability arising from the ownership. Accordingly,

the claim is misclassified since it does not qualify as a general unsecured claim.

    3. Trustee requests that Claim No. 2 be disallowed as filed but reclassified as a limited

partnership equity interest in the amount of $100,000.00 and that the claim be subordinated to

allowed general unsecured claims pursuant to 11 U.S.C. §510(b).

         WHEREFORE, PREMISES CONSIDERED Trustee prays that this Court enter an order

disallowing the claim as a general unsecured claim and that Trustee be granted such other and further

relief to which he may be justly entitled.

                                                        Respectfully submitted,

                                                        QUILLING, SELANDER, LOWNDS,
                                                        WINSLETT & MOSER, P.C.
                                                        2001 Bryan Street, Suite 1800
                                                        Dallas, Texas 75201-4240
                                                        (214) 880-1805 (Telephone)
                                                        (214) 871-2111 (Facsimile)
                                                        cmoser@qslwm.com (Email)

                                                        By: /s/ Christopher J. Moser
                                                           Christopher J. Moser

                                                        ATTORNEYS FOR TRUSTEE




1
  Section 501(a) of the Bankruptcy Code contemplates that equity security holders are to file proofs of their equity
interest as opposed to proofs of claim, and will be classified and treated separately from unsecured, secured and
priority creditors. See 11 U.S.C. §§1122(a) and 1129(b)(2) which each require different treatment for interests
compared with secured and unsecured claims.
                                                            2
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    TRUSTEE’S DECLARATION UNDER LOCAL BANKRUPTCY RULE 3007(a)(2)

        I, Christopher J. Moser, the Chapter 7 Trustee in the above case, hereby declare under
penalty of perjury that I have read the foregoing Objection and that the factual allegations made
in such Objection are true and correct to the best of my knowledge, information and belief.

Date: May 29, 2018                           /s/ Christopher J. Moser




                                      CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing Objection has been served via
first class mail, postage prepaid, on this 29th day of May, 2018, upon the following:

Office of the U.S. Trustee                                      Jeffrey T. Richard
300 Plaza Tower                                                 4220 Bluff Point Court
110 North College Avenue                                        Hazel Green, Wi. 53811
Tyler, Texas 75702
                                                                Daniel P. Winikka, Esq.
Payson Petroleum 3 Well, LP                                     Loewinsohn Flegle Deary Simon, LLP
2652 FM 407 E., Suite 250                                       12377 Merit Drive, Suite 900
Bartonville, TX 76226                                           Dallas, TX 75251

Payson Petroleum 3 Well, LP                                     Keith William Harvey, Esq.
1757 Harpsichord Way                                            6510 Abrams Road, Suite 280
Henderson, NV 89012                                             Dallas, TX 75231

                                                                 /s/ Christopher J. Moser




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